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                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

  SUNHA FAJARDO,

                              Plaintiff,

  -vs-                                                Case No. 6:11-cv-92-Orl-28DAB

  MONARCH RECOVERY MANAGEMENT,
  INC.,

                        Defendant.
  ______________________________________


                         ORDER OF DISMISSAL WITH PREJUDICE

         Upon consideration of the Joint Stipulation for Dismissal with Prejudice (Doc. No.

  11), and pursuant to Fed. R. Civ. P. 41(a), it is hereby

         ORDERED that this case is dismissed with prejudice. All pending motions are

  DENIED as moot. The Clerk is directed to close this file.

         DONE and ORDERED in Chambers, Orlando, Florida this 28th day of April, 2011.




  Copies furnished to:

  Counsel of Record
